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 8              IN THE UNITED STATES DISTRICT COURT FOR THE
 9                     EASTERN DISTRICT OF CALIFORNIA
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                                 )
11   UNITED STATES OF AMERICA,   )     NO. CR. S-07-165 LKK
                                 )
12                  Plaintiff,   )     ORDER EXCLUDING TIME UNDER SPEEDY
                                 )     TRIAL ACT, AND SETTING FURTHER
13        v.                     )     STATUS CONFERENCE DATE
                                 )
14   JESUS FERNANDO VEGA, et     )     Court:    Hon. Lawrence K. Karlton
     al.,                        )
15                               )
                    Defendant.   )
16   ___________________________ )
17
18        On July 22, 2008, plaintiff United States of America and
19   defendant Jose Maria Meza-Portillo appeared before the Court for
20   a status conference on Meza-Portillo's request for new counsel.
21   Assistant United States Attorney Samuel Wong appeared on behalf
22   of the United States.    Candace Fry, Esq., appeared with her
23   client, Meza-Portillo.    Hayes Gable, III, Esq., appeared in court
24   to accept appointment as new counsel for Meza-Portillo.
25        Mr. Gable advised the Court that Meza-Portillo had very
26   recently advised him that Meza-Portillo's family was attempting
27   to retain private counsel for him, but that the family needed
28   additional time to ascertain whether the family would, in fact,

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 1   be able to retain counsel for him.
 2        Based on this information, the Court excuses Ms. Fry as
 3   counsel for Meza-Portillo and appoints Mr. Gable as interim
 4   counsel for him pending final determination whether the family
 5   would be able to retain private counsel.
 6        Based on the representations of Meza-Portillo, and good
 7   cause appearing therefrom, the Court sets a new status conference
 8   hearing on August 5, 2008, at 9:30 a.m., for a hearing on the
 9   identification of Meza-Portillo's new counsel.        The Court orders
10   that time from July 22, 2008, to, and including, August 5, 2008,
11   shall be excluded from computation of time within which the trial
12   of this case must be commenced under the Speedy Trial Act to
13   allow new counsel for Meza-Portillo time to prepare his defense,
14   pursuant to Local Code T4.
15        The Court finds that the failure to grant a continuance in
16   this case would deny Meza-Portillo’s counsel reasonable time
17   necessary for effective preparation of his client’s defense,
18   taking into account the exercise of due diligence.         The Court
19   specifically finds that the ends of justice served by the
20   granting of such continuance outweigh the interests of the public
21   and defendant in a speedy trial.
22        It is so ordered.
23
24   Dated: August 4, 2008
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